                            UNITED STATES DISTRICT COURT
                            SO UTH ERN DISTRICT OF FLO RIDA
                                      M iam iD ivision

                                                        M DL No.2599
                                                        M asterFileNo.15-2599-M D-M ORENO
                                                        No.14-24009-CV-M ORENO
IN RE:

TAK ATA AIRBAG PRODUCTS
LIABILITY LITIGATION


THIS DOCUM ENT RELATES TO
ECON OM IC LOSS TM CK CASES
                           /

                 O RDER GR ANTING IN PART AND DENYING IN PART
   TAKATA CORPOM TION AND TK HOLDINGSINC.'SM OTIOY TO DISM ISS
         Thismultidistrictlitigationconsolidatesallegationsofeconomiclossandpersonalinjury
relatedto airbagsm anufactured by defendantsTakataCorporation and TK Holdings,lnc.and

equipped in vehiclesm anufactured by defendantsHonda,BM W ,Ford,M azda,M itsubishi,

Nissan, Subaru,Toyota,andVolkswagen1(collectively, thetsAutomotiveDefendants').Takata
asksthe Courtto dismissCounts1-8and 47-106- thecountsalleged againstitin the Second

Amended EconomicLossCom plaint.

                                       1.      BACK GROUND
         Plaintiffsareconsum ersofvehiclesequipped with Takataairbagscontaining am monium

nitrateasapropellant.The Courthasdivided them ultidistrictlitigation'scomponentcasesinto

twotracks:(1)economiclossforplaintiffsallegingpurely economicdamages,and(2)personal
injuryforplaintiffsallegingdamagestoaperson.Thisorderpertainsonlytotheeconomicloss
track.

         'ThefirstallegationsagainstVolkswagen appeared in thismultidistrictlitigationon M arch 31,2017,when
the United StatesJudicialPanelon MultidistrictLitigation transferred in28casesagainstVolkswagen.
                  Plaintiffsbring 68 countsagainstTakata forallegedly violating the RacketeerInsuenced

and CorruptOrganizationsAct(twocounts),theM agnuson-M ossW arranty Act(onecount),and
variousstatelawsregardingnegligence(two counts),fraudulentconcealment(twocounts),
unjustemichment(onecount),impliedwarranties(20counts),andconstzmerprotection(40
counts).
                  TheCourtalreadyhas:(1)foundthatPlaintiffsestabLishprimafacieclaimsfor
violationsofthe Racketeerlnfluenced and CorruptOrganizationsActand theM agnuson-M oss

W arrantyAct;(2)deniedTakata'smotiontodismissCounts1,2and 3;and(3)deniedTakata's
 motion to striketheallegationsofanationalclassaction.Additionally,the Courtgrantedthe

 AutomotiveDefendants'motion to dismissCounts104,105and 106.But,theCourtdenied

 Takata'srequesttojoin thatmotionbecausetf-rakatastandsin anentirelydifferentpositionthan
 theAutomotive Defendants.''

                  Excluding Counts 1,2 and 3,which the Courtalready hasaddressed,the65 rem aining

 countsagainstTakatathatareaddressed in thisorderarelisted in Table 1,along with the

 putative classorsubclassbringing each count.

                                                                       TAB LE 1
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       4       FraudulentConcealm ent                                                                                                      N ationwide
       5       Breach oflmplied W arranty - M ichigan Law                                                                                  N ationwide
         6         UnjustEnrichment                                                                                                        Nationwide
     7             V iolation oftheM ichigan ConsumerProtection Act                                                                        N ationwide
      8            N egligence- M ichigan Law                                                                                              N ationwide
     47            Violation ofthe FloridaD eceptive and UnfairTradePracticesAct                                                                Fla.
     48            Breach ofImplied W arranty ofM erchantability                                                                                Fla.
     49            Violation ofthe Alabam a DeceptiveTrade PracticesAct                                                                        Ala.
     50            Violation ofthe Consum erFraud Act                                                                                          Ariz.
     51            Violation ofthe California UnfairCompetition Law                                                                            Cal.
     52            Violation ofthe California Consum erLegalRemediesAct                                                                        Cal.
     53            V iolation ofthe CaliforniaFalseAdvertising Law                                                                             Cal.
54   Vi
     l olation ofthe Song-Beverly ConsumerW arranty A ctforBreach ofthe           c al.
      m lied W arran ofM erchantabili
55   NegligentFailure to Recall                                                    cal.
56   Violation oftheColorado ConsumerProtection Act                               Colo.
57   Breach ofthe lm plied W arranty ofM erchantability                           Colo.
58   V iolation ofthe ConnecticutUnlawfulTradePracticesAct                        Conn.
59   V iolation oftheG eorgia FairBusinessPracticesA ct                            Ga.
60   V iolation oftheG eorgia Uniform Deceptive TradePracticesAct                  Ga.
61   U nfairand Deceptive Actsin V iolation ofHawaiiLaw                           Haw .
62   Breach oflm plied W arranty ofM erchantability                               Haw .
63   Violation ofthe lllinoisConsumerFraud and Deceptive BusinessPracticesAct       111.
64   Violation ofthe IllinoisUniform Deceptive TradePracticesAct                    111.
65   Violation ofthe lndiana Deceptive Consum erSalesAct                           Ind.
66   Breach oflm plied W arranty ofM erchantability                                Ind.
67   Violation ofthe PrivateRightofAction forConsumerFraudsAct                    Iowa
68   Violation ofthe Louisiana UnfairTradePracticesand Consum erProtection Law     La.
69   Breach ofthe Implied W arranty ofM erchantability/W arranty A gainst           La.
     Redhibito Defects
70   Deceptive ActsorPracticesProhibited by M assachusetlsLaw                     M ass.
71   Breach ofthelm plied W arranty ofM erchantability                            M ass.
72   V iolation ofthe M ichigan Consum erProtection Act                           M ich.
73   Breach ofImplied W arranty ofM erchantability                                M ich.
74   Violation ofthe M innesota Prevention ofConsum erFraud Act                   M inn.
75   Violation ofthe M innesota Uniform DeceptiveTrade PracticesAct               M inn.
76   Breach ofthe lmplied W arranty ofM erchantability                            M inn.
77   V iolation oftheM issouriM erchandising PracticesAct                          M o.
78   Breach ofthe lmplied W arranty ofM erchantability                             M o.
79   Violation oftheN evada Deceptive Trade PracticesAct                          N ev.
80   Breach ofthe Im plied W arranty ofM erchantability                           Nev.
81   Breach oflmplied W arranty ofM erchantability                                 N .J.
82   V iolation ofthe New Jersey ConsumerFraud A ct                                N .J.
83   Violation oftheN ew York GeneralBusinessLaw - Section 349                    N .Y .
84   Violation ofthe New York GeneralBusinessLaw - Section 350                    N .Y .
85   V iolation oftheNorth Carolina Unfairand DeceptiveTrade PracticesAct          N .C.
86   Breach ofthe lmplied W arranty ofM erchantability                             N .C.
87   V iolation ofthe Consum erSalesPracticesAct                                   Ohio
88    Violation ofthe Oregon Unlaw fulTradePracticesAct                             Or.
89
      Violation ofthe Pennsylvania UnfairTradePracticesand Consum erProtection     Pa.
      Law
90    Breach ofthe Im plied W arranty ofM erchantability                           Pa.
91
      Violation ofthe Rhode lsland U nfairTradePracticesand Consum erProtection    R.l.
      Act
92    Breach ofthe lmplied W arranty ofM erchantability                            R.l.


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         93            Violation oftheSouth Carolina UnfairTradePracticesAct                                                                                 S.C.
         94            V iolation ofthe South Carolina Regulation ofM anufacturers,Distributors,and                                                          S
                       D                                                                                                                                      .C.
                         ealersAct
     95                Breach ofthe Im plied W arranty ofM erchantability                                                                                S.C.
     96                V iolation oftheTennesseeConsum erProtection A ct                                                                                Tenn.
     97                V iolation ofthe DeceptiveTradePracticesAct                                                                                      Tex.
     98                Breach ofthe lmplied W arranty ofM erchantability                                                                                 Tex.
     99                V iolation ofthe Virginia ConsumerProtection Act                                                                                  Va.
     100               Breach ofthe lm plied W arranty ofM erchantability                                                                                Va.
     101               V iolation ofthe Consum erProtection Act                                                                                         W ash.
     102               Violation ofthe Consum erCreditand Protection Act                                                                               W .Va.
     l03               Breach ofthe lmplied W arranty ofM erchantability                                                                               W .Va.
     104               FraudulentM isrepresentation & FraudulentConcealment                                                                          Nat'1Auto-z
     l05               V iolationsofState Deceptive Trade PracticesStatutes                                                                          StateAuto.3
                                                                                                                                                               4
     l06               V iolation ofFlorida Deceptive and UnfairTrade PracticesAct                                                                   Fla.Auto.

                     These65 countsariseoutof114 vehiclepurchasesby 112 nam ed plaintiffs.Foreach

 namedplaintiff,Table2liststhe;(1)manufacturerofthevehiclepurchased;(2)transferorcourt;
  (3)applicablechoice-of-law rule;(4)stateofresidence;(5)locationofthevehicle'spurchase;
  and(6)substantivelaw thatappliesafteranalyzingtheapplicablechoice-of-law rule.
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           Aliscio                       Ford           S.D .Fla.                        Fla.             Fla.                    Fla.                       Fla.
           A llen                       Honda           S.D.Fla.                         Fla.             Fla.                    Fla.                       Fla.
           Archer                       Honda           C.D.Cal.                         Cal.             Haw.                    Haw.                       Haw .
           A rnold                      Honda           N .D .Ga.                        Ga.              Ga.                     Ga.                         Ga.
           Avery                        Honda           W .D .N .C.                      N .C.            N .C.                   N .C.                      N .C.
            Bae                         Honda           C.D .Cal.                        Cal.             Cal.                    Cal.                       Cal.
           Barnett                       Ford            Direct                          Fla.             Tex.                    Tex.                       Tex.
            Barto                       N issan          D irect                         Fla.              Pa.                     Pa.                        Pa.
           Benton                        Ford            D irect                         Fla.              S.C.                   S.C.                        S.C.


                       2NationwideAutomotiveRecyclerClass.

                       3StateDeceptiveTradePracticesStatuteAutomotiveRecyclerClass.

                       4FloridaAutomotive RecyclerClass.



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                                                                                     -
 Birdsall     M azda      Direct            Fla.    N .Y .    Pa.       Pa.
  Bonet      Chrysler    S.D .Fla.          Fla.     Fla.     Fla.      Fla.
  Boone       Honda     C.D.Cal.            Cal.    M ich.   M ich.    M ich.
Breschnev     Honda     E.D.M ich.         M ich.     111.     111.      111.
  Burd        Honda        Direct           Fla.     Ind.     lnd.      Ind.
 Cataldo      Honda      S.D .Fla.          Fla.     Fla.     Cal.      Cal.
Cervantes     Honda     N .D.Ala.           A la.    A la.    Ala.      Ala.
  Chen        Honda      W .D.Pa.           Pa.     Tex.      Or.       Or.
  Cody        Honda     C.D .Cal.           Cal.    A riz.   Ariz.     Ariz.
 Collins      Toyota     S.D .Fla.          Fla.     Fla.     Fla.      Fla.
 Corteleti    Honda       D irect           Fla.     Fla.     Fla.      Fla.
   Day        BM W       M .D.Fla.          Fla.     Fla.     Fla.      Fla.
Dem beck      Honda        Direct           Fla.     N .J.    N .J.     N .J.
  Dtwan       BM W       S.D .Fla.          Fla.     Fla.     Fla.      Fla.
Dougherty     BM W       C.D.Cal.           Cal.     Cal.     Cal.      Cal.
 Flaherty     Honda        Direct           Fla.     Cal.     Cal.      Cal.
 Fuentes      Honda      S.D .Fla.          Fla.     Fla.     Fla.      Fla.
 Gam ino      Honda      S.D.Cal.           Cal.     Cal.     Cal.      Cal.
  Garcia      Honda      S.D .N .Y .       N .Y.     N.Y.    N .Y .     N.Y.
   Go         Honda      C.D.Cal.           Cal.     Cal.    Ariz.      Ariz.
 Goodw in     Honda     E.D.M ich.         M ich.   W ash.   W ash.    W ash.
 Gunther      BM W       S.D.Fla.           Fla.     Fla.     Fla.       Fla.
  Haklar      N issan    C.D.Cal.           Cal.     Cal.     Cal.      Cal.
  Hasley      Honda        Direct           Fla.      R.l.     R.I.      R.l.
  Herron     Chrysler      D irect          Fla.      Fla.     Fla.      Fla.
 Hodgson      Honda      W .D.M o.          M o.     M o.     M o.       M Q.
  Holland     Honda      W .D .M o.         M o.     M o.     M o.       M o.
Hollywood     Honda      C.D.Cal.           Cal.      Cal.    Cal.       Cal.
  Holmes      Honda       S.D.Fla.          Fla.      Fla.     Fla.      Fla.
               Ford      W .D .Pa.           Pa.      Cal.     Cal.      Cal.
 Huebner     Pontiac/    W .D .Pa.          Pa.      Cal.    Ohio       Ohio
              Toyota
Jorgensen     Honda      S.D .Fla.          Fla.    Haw .    Haw .     Haw.
              BM W       E.D.N .Y .        N .Y.     Cal.     Fla.      Fla.
  Kazos       H onda     E.D.N .Y .        N .Y.     Cal.     Cal.      Cal.
 K illgo      Honda      C .D.Cal.          Cal.    Idaho     O r.      Or.
 K lemer      Honda       Direct            Fla.     N .J.    N .J.     N .J.
 Klinger      Honda      C.D .Cal.          Cal.     Cal.     Cal.      Cal.
 Knight       Honda      S.W .V a.         W .Va.   W .Va.   W .V a.   W .Va.
 Koehler      Honda      S.D .Fla.          Fla.     Fla.     Fla.      Fla.
K opelm an    Honda      S.D .Fla.          Fla.     Fla.     Fla.      Fla.



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 Lathouris      Honda      C.D.Cal.          Cal.        N ev.        Nev.        N ev.
    Lee          BM W       S.D .Fla.         Fla.        Pa.          Cal.        Cal.
  Leonard       H onda     W .D.N .C.        N .C.       N .C.        Tenn.       Tenn.
    Lew          Honda       Direct           Fla.       Tenn.        Tenn.       Tenn.
  Liberal       N issan     S.D .Fla.         Fla.        Fla.         Fla.        Fla.
M arkow itz      Honda      S.D .Fla.         Fla.        Fla.         Fla.        Fla.
  M artin       Toyota     N .D .Ala.        Ala.         Ala.         Ala.       A la.
 M artinez       Honda      S.D .Fla.         Fla.        Fla.         Fla.        Fla.
M cLatlghlin    Chrysler     D .S.C.         S.C.         S.C.         S.C.        S.C.
  M clweod       Honda     C.D .Cal.          Cal.        Cal.         Cal.        Cal.
   M eiser       Honda     W .D .N .C.       N .C.        N .C.       N .C.       N.C.
 M oehlm an      Honda     W .D .M o.         M o.        M o.         M o.        M o.
  M organ        Honda      S.D .Fla.         Fla.        Fla.          Pa.         Pa.
   M orris       BM W      E.D.M ich.        M ich.        Pa.         Va.        M ich.
  M ulroy        BM W       S.D.Cal.          Cal.        Colo.       Colo.       Colo.
  M urphy        Honda     N .D .Ala.         Ala.        Ala.         Ala.        Ala.
  Nannery        Honda      C.D.Cal.          Cal.     W ash.D .C.      Cal.       Cal.
  Palmieri       Honda      C.D.Cal.          Cal.        N.Y.         N.Y.       N .Y .
   Pardue        M azda    N .D.Ala.          A la.       A la.        A la.       Ala.
   Peaslee       Honda      S.D.Fla.          Fla.       M ass.       Conn.       Conn.
  Pedersen       H onda     E.D .Ky.          Ky.          Ky.         Ariz.      Ariz.
   Peoples       Honda      S.D.Cal.          Cal.        Tex.        Tenn.       Tenn.
  Petersen      Chrysler     Direct           Fla.        low a        low a       Iowa
  Peterson       Toyota       D irect         Fla.        M ass.      M ass.      M ass.
    Pham         BM W       S.D.N .Y .       N .Y.         Cal.        Cal.         Cal.
   Quirk        Toyota       D.S.C.           S.C.        S.C.         S.C.        S.C.
  Raiken        Toyota      E.D .Pa.          Pa.         Pa.          Pa.         Pa.
    Rash        Honda       S.D .Fla.         Fla.        Fla.         Fla.        Fla.
   Reilly       Subaru       Direct           Fla.        Ala.         Ala.        A la.
 Richardson     BM W        N .D.Ala.         Ala.        A la.        Ala.        A la.
    Ritter      Honda       C.D.Cal.          Cal.       M inn.        Tex.        Tex.
  Rosson        Honda       S.D.Fla.          Fla.        Fla.         Tex.        Tex.
   Ruffin       Toyota      S.D.Fla.          Fla.        Fla.         Fla.        Fla.
    Ruth        Honda         Direct          Fla.        Cal.         Cal.        Cal.
   Sayler        BM W      N.D.Ohio          Ohio         Ohio       Cal.(Ohio)    Ohio
Sayre-scibona    Honda       Direct           Fla.        M ass.       M ass.     M ass.
   Schm idt      BM W       M .D .Fla.        Fla.         Cal.         Cal.       Cal.
  Schneider      Honda      S.D .Fla.         Fla.         Fla.         Fla.       Fla.
   Severio       Honda      S.D.Fla.          Fla.         La.          La.        La.
    Shader       Toyota     S.D.Fla.          Fla.         Fla.         Fla.       Fla.
    Shank        Honda      E.D .N .Y.        N .Y .      Ohio         Ohio       Ohio



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    Silva         Honda          Direct          Fla.       Tex.         Tex.        Tex.
  Sinclair         Ford          Direct          Fla.       Fla.         Fla.         Fla.
   Spiess         Honda          Direct          Fla.      M inn.       M inn.       M inn.
  Takeda          Honda        C.D.Cal.          Cal.       Cal.         Cal.         Cal.
Talamantes        Toyota         Direct           Fla.     Nev.         Nev.         N ev.
  Tanner          Honda        N .D.A la.        A la.      A la.        A la.        Ala.
   Taylor         Honda        C.D .Cal.         Cal.       Fla.         Fla.         Fla.
  Tessier         H onda        S.D .N.Y.        N .Y .     Fla.         Fla.         Fla.
Thompson          BM W           Direct           Fla.      Ga,          Ga.          Ga.
  Tillisch        H onda       C.D .Cal.         Cal.       Va.          Va.          Va.
   Veser          BM W         E.D.M ich.        M ich.     Fla.         Fla.         Fla.
Vukadinovic       M azda        E.D .Pa.          Pa.       Fla.         Fla.         Fla.
  W alker         Subaru        E.D.Pa.           Pa.       Fla.         Fla.         Fla.
  W atley         Honda         N .D.Ga.          Ga.       Ga.           Ga.         Ga.
 W eisberg        Honda         S.D.Fla.          Fla.      Fla.         Fla.         Fla.
  W eisblat        Ford         S.D.Fla.          Fla.      Fla.         Fla.         Fla.
 W hitehead       Honda         C.D.Cal.          Cal.      Ala.         A la.        Ala.
 W ilkinson       Honda         S.D.Fla.          Fla.       Or.          Or.         Or.
   W ilsey        Honda           Direct          Fla.      R.l.          R.1.        R.1.
W ishkovsky       Toyota       E.D.M ich.        M ich.      Pa.          Pa.          Pa.
 W oodard          Ford          Direct           Fla.      S.C.         S.C.         S.C.
   Young          Honda         E.D .N .C.       N .C.      N .C.         Ga.         Ga.
  Zamora          Honda         S.D .Cal.         Cal.      Cal.         Cal.         Cal.
  Zielinski        BNI'
                      W          N.D.111.          111.      111.         111.         111.

                               ll.     LE G AL STA N D AR D
       $%A pleadingthatstatesaclaim forreliefmustcontain...a shortandplain statem entofthe

claim showingthatthepleaderisentitledtorelief.''FED.R.ClV.P.8(a)(2).Tosurviveamotion
to dismiss,açscomplaintmustcontain sufficientfactualmatter,accepted astrue,to çstatea claim

toreliefthatisplausibleonitsface.'''Ashcrojtv.Iqbal,556U.S.662(2009)(quotingBellAtl.
Corp.v.Twombly 550U.S.544(2007)).Detailedfactualallegationsarenotrequired,buta
pleading m ustofferm ore than ççlabelsand conclusions''ort1aformulaic recitation oftheelem ents

ofthecauseofaction.'' Twombly,550 U.S.at555.

       W hereacauseofactionsoundsinfraud,however,FederalRuleofCivilProcedure9(b)
mustbesatisfiedinadditiontothemorerelaxedstandazdofRule8.UnderRule9(b),$çaparty

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muststatewith particularity thecircum stancesconstituting fraud orm istake,''although

'fconditionsofa person'sm ind,''such asm alice,intent,and knowledgem ay be alleged generally.

FED.R.CIV.P.9(b).Ct-l-helparticularity'requirementservesan importantpumoseinfraud
actionsby alerting defendantsto the precisem isconductwith which they arecharged and

protecting defendantsagainstspuriouschargesofimm oraland fraudulentbehavion'' JE Coast

Roohngt:
       b Waterproohng,Inc.v.JohnsManville,lnc.,287F.App'x81,86(11thCir.2008)
(internalquotationsandcitationsomitted).
                                     111.    A NA LY SIS

       Choice-of-tzaw A nalysis
       Plaintiffsarguethatachoice-of-law inquiry ispremature,buttheissuehasbeen briefed

and can bedecided withoutfurtherfactualdevelopm ent. ln the M azda Order,theCourt

concluded thatitshould apply thetransferorcourt'schoice-of-law rulesforeach case transferred

into themultidistrictlitigation.In applying thevariouschoice-of-law rulesin previousorders,

theCourthascompleted achoice-of-law analysisforal1butfsve ofthe 112 nam ed plaintiffs-

Bonet,Herron,M clwaughlin,Petersen,and Huebner,astohisPontiaconly. Bonet,Herron,

M cLaughlin and Petersen a11purchased Chryslervehicleswith Takata airbags. Although there

areno claimsasserted againstChryslerbecauseofChrysler'sbanknzptcy,the Cluyslerplaintiffs

stillmaintain claim sagainstTakata. Huebnerpurchased two vehiclesinvolved in this

multidistrictlitigation.Thefirstvehicle- aFord- wasaddressed in theFord Order. The second

vehicle- aPontiac- hasyetto be addressed because Huebner'sclaim sagainstToyotawere

dism issed.But,Huebnerstillmaintainsclaim sagainstTakatarelatedto hisPontiac.

        Applying theM azdaOrder'schoice-of-law analysis,Florida'schoice-of-law rulesapply

to Bonet's,Herron's,and Petersen'sclaim sbecausetheircaseswere eitherdirectly filed into this

multidistrictlitigation ortransferred from the Southern DistrictofFlorida'
                                                                         ,Pennsylvania's

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choice-of-law rulesapplyto Huebner'sPontiacclaim sbecausehiscasewastransferred from the

W estern DistrictofPennsylvania;and South Carolina'schoice-of-law rulesapply to

M claaughlin'sclaim sbecausehiscasewastransferred from theDistrictofSouth Carolina.

      Applying Florida'schoice-of-law rulesto Bonet,Herron and Petersen,Florida

substantive 1aw appliesto Bonetand Helw n becausethey purchased theirvehiclesin Florida and

reside in Florida,and Iow asubstantive1aw appliesto Petersen becausehepurchased hisvehicle

in Iowaand residesin Iowa.5 Applying Pennsylvania'schoice-of-law rulesto Huebner'sPontiac

claim s,Ohio substantive1aw applies. Although Huebnerresidesin California,hepurchased his
Pontiac in Ohio, andthus,Ohio hasm oreinterestin hisclaim sthan California.6 A pp1ying South

Carolina'schoice-of-law rulesto M cLaughlin,South Carolina substantive1aw appliesbecause

he purchasedhisvehicle in South Carolinaand residesin South Carolina.7 The Courthasnow

analyzed theapplicable substantive 1aw fora1l112 namedplaintiffs,assum m arized in Table2.

B.     Negligence& NegligentFailuretoRecall(Counts8 & 55)
       Plaintiffsbringtwo negligenceclaims:(1)negligenceonbehalfofthenationwideclass
(Count8),and(2)negligentfailuretorecallon behalfoftheCaliforniasubclass(Count55).As
explained in theNissan and BM W Orders,California'seconom iclossrulebarsCount55.

Therefore,Takata'sm otionto dism issCount55 isGR ANTED. Takatam ovesto dism iss

Plaintiffs'negligence claim son groundsthattheeconom ic lossdoctrineprecludeseconom ic

dam ageson negligencetheoriesofliability. Asexplained in theFord Order,the Courttreats

Count8 asarising underonly M ichigan law becauseeven though Plaintiffsallege Count8under



       5ylorida'schoice-of-law rulesareexplainedintheM azdaOrdcr.

       6Pennsylvania'schoice-of-law rulesareexplainedintheM azdaOrder.

       7southCarolina'schoice-of-law rulesare explainedintheToyota Order.


                                                 -   9-
altem ativelaws,the ResponsestatesthatPlaintiffsareççasserting these claimsfornegligence

underM ichigan law.''A sTable 2 indicates,M ichigan law appliesonlyto two named

plaintiffs- Booneand M onis. Therefore,Takata'sm otion to dism issCount8 isGRANTED as

to a1lnamed plaintiffsexceptBoone and M onis.

       Asto Boone and M onis,TakataarguesthatM ichigan'seconom iclossnllebarstheir

negligenceclaim s. The Courtagrees. In M ichigan,the economiclossdoctrinetûbarstort

(productliability)recoveryandlimitsremediestothoseavailableundertheUniform
Comm ercialCode where aclaim fordam agesarisesoutofthecomm ercialsaleofgoodsand

lossesincurred arepurely econom ic.''Neibargerv.UniversalCoops.,Inc.,486 N .W .2d 612,

613(M ich.l992).Thedoctrinewaslaterexpandedtoapplytoconsumertransactions.See
Shermanv.SeaRay Boats,649N.W .2d783 (M ich.Ct.App.2002).
       PlaintiffsarguethatNeibargerprohibitsapplication ofthe economiclossdoctrineoutside

ofcomm ercialtransactions,and therefore,doesnotpreventtortclaim sby consum erswho have

neithertheskillnorthebargaining powerto negotiatewarrantiesorotherrem edies.See,e.g.,

RepublicIns.Co.v.BroanMfg.Co.,Inc.,960F.Supp.1247,1249(E.D.M ich.1997)(:<The
geconomicloss)doctrinehasno applicationoutsidethecommercialrealm');FrankenmuthMut.
Ins.Co.v.AceHardwareCorp.,899F.Supp.348,351(W .D.Mich.1995)(economicloss
doctrinedoesnotappeartoapplytoaconsumerwhoplzrchasesforpersonaluse);Chiassonv.
Winnebago,No.01-74809,2002U.S.Dist.LEXIS27462,at#29 (E.D.M ich.M ay 16,2002)
(recognizingdistinctionbetweencommercialandconsumerplaintiffsinapplyingeconomicloss
doctrine--consum er'sremediesshould notbebarred by econom ic lossdoctrinewhen notin

privitywith manufacturer).But,the casessupporting Plaintiffs'position were decided by federal
 courtsapplyingM ichigan1aw eitherbeforeorjustdaysafterShermanexpandedtheeconomic
lossdoctrineto consum ertransactions. Although the Supreme CourtofM ichigan hasnot

definitively settled theissue- to theextentNeibargerwasunclear- M ichigan courtsnow

routinely follow Sherman and extend theeconomiclossdoctrine to consumertransactions.See,

e.g.,Phillipsv.StateFarm Ins.Co.,No.328309,329740,2016 M ich.App.LEXIS 2126,at*5

(M ich.Ct.App.Nov.17,2016);Fremontlns.Co.v.Gro-GreenFarms,No.324075,2016M ich.
App.LEXIS 553,at*5(M ich.Ct.App.M ar.17,2016).ThisCourtfollowssuit.B
       Here,Plaintiffs'economiclosstrack dam agesdo notarise from physicalharm ,butare

based on m eredisappointed econom icexpectationsin thevehicles. Analysisunderthepersonal

injurytrackmaydiffer,buttheoverridingconcernoftheeconomiclossdoctrineprovidesthat
w here a plaintiff seeks dam agessolely foreconom ic losses,tortconcelm sw ith productsafety no

longerapply and econom icexpectation issuesprevail.SeeSherman,649N .W .2d at790.
Therefore, Takata'sm otion to dism issCount8asto Booneand M orrisisGR ANTED.S

C.     FraudulentConcealment(Counts4& 104)
       Plaintiffsbringtwofraudulentconcealmentclaims:(1)Count4 onbehalfofthe
nationwideclassunderthecom mon 1aw offraudulentconcealm ent,oralternatively,under

M ichigan law,oralternatively,underthe lawsofthe stateswherePlaintiffsreside orpurchased

theirvehicles;and(2)Count104onbehalfofthenationwideAutomotiveRecyclerClass.
TakatamovestodismissPlaintiffs'claimsforfraudulentconcealmentongroundsthat:(1)there

       8ForacomprehensiveanalysisofM ichigan'sexpansion oftheeconomic lossdoctrineto consumer
transactions,seeConradv.CertainteedCorp.,No.308705,2013Mich.App.LEXIS2039,at*5-13(Mich.Ct.App.
Dec.12,2013).
         9A lthough thepartiesdidnotbrieftheissue,theCourtnotesthatlack ofprivityofcontractbetween
Plaintiffsand Takatadoesnotprecludeapplication ofM ichigan'seconomiclossdoctrine.TheCourtofAppealsof
Michiganhasçlexpresslyrejectedtheargumentthatthecconomiclossdoctrinedoesnotapplyintheabsenceof
privityofcontract.''SeeCitizensIns.Co.v.OsmoseWoodpreserving,Inc.,585N.W.2d3l4,316(M ich.Ct.App.
1998).AlthoughthecasesrelieduponbyOsmoseWoodallinvolvecommercialsettings,theypredatedSherman.
AndSherman chosenottoaddressprivityasthepartiesdid notraisethe issue.SeeSherman,649N .W .
                                                                                        2dat790
n.7.
isno federalcommon law offraudulentconcealment;(2)Takatahadnodutytocommunicate
withPlaintiffs;(3)Plaintiffsdonotallegeinjury causedbyrelianceonanyconcealmentor
misrepresentation;and(4)theeconomiclossdoctrinebarsanytortrecoveryunderthelawsof
Florida,lndiana,M ichigan,M issouri,North Carolina,Pennsylvania,orW estVirginia.As

explained below ,Plaintiffs sufficiently allege Count4 underthe law s ofa1lstatesexceptFlorida

and Pennsylvania.Therefore,Takata'smotion to dismissCount4 isGR AN TED asto Plaintiffs

governed by FloridaorPermsylvanialaw,and isDENIED asto a11otherPlaintiffs. And

Takata'sm otionto dism issCount104 isGRANTED.

       1.      Count4 fçAlleged UnderAlternativeLaws
       Takata arguesthatthereisno federalcomm on law offraudulentconcealmentbecausethe

1aw materially variesby state.lndeed,Takataattachesalengthy exhibitthatchartstheelem ents

offraudulentconcealmentin 20 states. But,Takata'schartsuggeststhatthe elementsin each

state aresim ilarand thatm ostofthe20 statesrequireduty, reliance,and causation.10 Thus,

Takata'sown sum m ary offraudulentconcealm entlaw seemsto contradictitsargum entthatthe

law isnotcom m on acrossthe states.

       Nevertheless,theCourtneed notdeterm inewhetherornotthere isafederalcomm on 1aw

offraudulentconcealmentatthistim ebecauseCount4 isalleged underthe federalcom mon law,

butaltem atively underM ichigan law orthelawsofthe stateswherePlaintiffsresideor

purchased theirvehicles.Thus,even ifthe Courtwereto determ inethatthereisno federal

comm on law offraudulentconcealm ent,Plaintiffswould stillhaveviable claim sbased on the

lawsofthe stateswhere Plaintiffsresideorpurchased theirvehicles. lndeed,asexplained in

otherorders,the Courthaspermitted Plaintiffs'fraudulentconcealmentclaimsto proceed

         10Takata'schartconcludesthatonlyArizonadoesnotrequireaduty,and thatonly North Carolinadoesnot
requirereliance.
againsttheAutom otiveDefendantsunderthelawsofAlabam a,California,Florida,ll

M assachusetts,N evada,South Carolina,and Texas.Therefore,even ifthe Courtwereto

concludethatthereisno federalcom mon 1aw offraudulentconcealment,Count4 could notbe

dismissed.Theissuemay bereaddressedatclasscertiûcationoratsummaryjudgment.
               F lorida Law Applies to Count104

       Plaintiffsdo notspecify what1aw appliesto Count104. Takata arguesthatCount104

failsto givenotice ofthe state1aw orlawsunderwhich the claim isasserted,which içaloneis

reasontodismisstheglclaim.''SeeTravelerslndem.Co.v.Cephalon,Inc.,32F.Supp.3d538,
550n.15(E.D.Pa.2014)(failuretoidentifyunderwhichstate'slawsplaintiffsasserttheir
claimsisgroundsfordismissal).AlthoughPlaintiffsdonotdisputeTakata'sargumentintheir
Response,the Courtalready hasexplained in apreviousorderthattheAutom otiveRecycler

Classdoesnothavestandingto assertclaimsunderlawsofstatesotherthan Florida. Further,as

explained in theM azdaOrder,Florida'seconom iclossnzlebarsclaim sforfraudulent

concealm entseeking economicloss. Therefore,Takata'smotion to dism issCount104 is

G R ANTED .

       3.      PlaintiffsSum cientlyAllegeTakata'sDlz/.ptoDisclose
       ln m any states,a fraudulentconcealm entclaim requiresthatthe defendanthavea duty to

disclosefacts. Takataarguesthatithad no duty to discloseinfonnation to Plaintiffsbecause

Takatadid notenterinto any directtransaction with Plaintiffsandthus,had no tldirect

relationship.'' Takata'sargumentsare substantially sim ilarto the argum entsasserted by M azda,




        11AlthoughtheCourtpermitted fraudulentconcealmentclaim stoproceedunderFlorida law in itsSubaru,
Toyota,Nissan andFord Orders,theCourtalsodismissed afraudulentconcealmentclaim underFloridalaw inthe
M azdaOrderunderFlorida'seconomiclossrule,
Subanz, and Ford.12 Asexplained inthoseorders,a directrelationship isnotrequired to createa

duty to disclose- otherspecialcircum stancescan sufûce.Although Takata isone step further

rem oved from Plaintiffs'consum ertransactionsthan theAutom otiveDefendants,the sam e

reasoning applies.PlaintiffsallegethatTakataowed aduty to disclosethetruesafety and

reliability ofthe defectiveairbagsbecauseTakatapossessed exclusive knowledgeofthedangers

andrisksposedbytheairbags,intentionallyconcealedthosedangersandrisks,anditlmqade
incompleterepresentationsaboutthesafety andreliabilityofthe(airbagsqgenerally,while
purposefully withholding materialfactsfrom Plaintiffsthatcontradicted theserepresentations.''

Consistentwith thereasoning in the M azda,Subaru and Ford Orders,becausePlaintiffsallege

thatTakatamadetheseincompleterepresentations,theCourtfindsthatPlaintiffssufficiently

allegethatTakatahad adutyto discloseadditionalfactsaboutthesafety ofitsairbags.

Therefore,Takata'smotion todismissCount4 forlack ofduty to discloseisDENIED .

       Further,atthe motion to dismissstage,the Courtdoesnotconsiderfactsoutsideofthe

Complaint,like Takata'sguilty plea in the Unitcd StatesDistrictfortheEastern Districtof

M ichigan,CaseNo.16-20810.But,Takata'sadm issionsin thatguiltypleam ay behighly

influentialatslzmmaryjudgment.
       4.      Plaintt sSum cientlyAllegeRelianceandCausation
        TakataarguesthatPlaintiffsdonotallegeaninjurycausedbyrelianceonany
concealmentormisrepresentation and thus,do notestablish therequired causallizzk between

Takata'salleged inequitableconductand the resulting hann.Buthere,Plaintiffsassertthat

Takata'salleged omissionsand concealed materialfactsaboutthedefectiveairbagscaused

         12Takatadoesnotraisespecific statelaw arguments. To theextentstate1aw needstobeaddressedata
laterstage,theCourthasalready addressedsimilardutyargumentsunderthelawsofAlabama,California,Florida,
M assachusetts,South Carolina,andTexasintheM azda,Subaru,and FordOrders.lneach analysis,theCourt
determinedthattheapplicableAutomotive Defendanthad adutyto discloseinformation to Plaintiffs.


                                                -   14-
Plaintiffs'injuries.Speciscally,PlaintiffsassertthatbutforTakata'somissionsofadangerous
safety defect- ahighly materialfactforconsumers- plaintiffswould nothavepurchasedthe
vehiclesorwould nothavepaid asmuch forthem asthey did. Thisalone sufficesto allege

causation and reliance.Atthem otion to dism issstage,Plaintiffssufficiently allegethatTakata's

omissionscaused Plaintiffsto purchasevehicleswith defective airbags. Therefore,Takata's

motion to dismissCount4 forfailureto allegerelianceorcausation isDENIED.

       Further,itisunclearwhetherTakataarguesthatPlaintiffsdo notsuffciently allege

Takata'sknowledge ofthe intlatordefect.But,to theextentTakatam akesthisargum ent,

consistentwith theM azdaOrder,theCourttindsthatPlaintiffssufficiently allege Takata's

knowledgeoftheintlatordefecttosatisfythepleadingrequirementsofRule9(b).
              Econom icLossDoctrine in SelectStates
       Takata arguesthatthe econom ic lossdoctrinebarsanytortrecovery underthe lawsof

Florida,lndiana,M ichigan,M issouri,North Carolina,Pennsylvania and W estVirginia.

Generally,the econom iclossdoctrine providesthatdamagesforpurely econom iclossresulting

from thepurchaseofaproductthatinjuresitselfarenotrecoverableincertaintortactionsand
mustbeasserted in abreach ofcontractorwarranty claim .SeeE.RiverS.S.Corp.v.

TransamericaDelaval,476U.S.858,871(1986).Plaintiffsarguethatcourtsacrossthecountl'y
haveheld the econom ic lossdoctrinedoesnotapply to claimssoundingin fraud.

       Asan initialmatter,the Courtalready hasconcluded thatthe econom iclossdoctrinesin

Floridaand Pennsylvania barclaim sforfraudulentconcealm ent. Therefore,Takata'sm otion to

dism issCount4 as to Plaintiffs governed by Florida orPerm sylvania law is G R AN TED .

              a.      lndiana
       Takataarguesthatlndiana'seconomiclossdoctrinebarsPlaintiffs'fraudulent

concealm entclaims.TheSuprem eCourtoflndianadecision on which Takatareliesheld that
wherelossispurely economic,likewhere the only lossrelatesto a product'sfailureto liveup to

expectations,such lossesarenotrecoverablein strictliability,butaremoreappropriately

recoveredbycontractualremedies.SeeReed v.Cent.Soya Co.,621N.E.2d 1069,1075(lnd.
1993).But,Reeddealtonlywithrecoveryofeconomiclossinstrictliabilityactionsanddidnot
addresstherecoverability ofdam agesin fraud adions.AsPlaintiffsargue,Indianacourtshave

awarded diminution ofvaluedam ageswhereplaintiffshaverelied on fraud and

m isrepresentation causesofaction.See,e.g.,Captain drCo.,Inc.v.Stenberg,505 N.E.2d 88,98

(Ind.Ct.App.1987).
       ltisunclearwhetherthe Supreme Courtoflndianaintended itsholding in Reedto apply

to economiclossdnm agesresulting from fraud claim s.But,becauselndiana courtshave

awarded econom iclossdamagesbased on fraud and m isrepresentation,and Reed did not

defnitively foreclose such recovery,thisCourtconcludesthatthe lndianaeconom icloss

doctrinedoesnotapply to claimssounding in fraud.SeeIn reFord M otorCo.Bronco11Prods.

Liab.Litig.,No.991,2015U.S.Dist.LEXIS 18207,at#17-20 (E.D.La.Dec.5,1995)
(concluding same).
       Takata furtherarguesthatlndiana doesnotrecognize exceptionsto theeconomic loss

doctrineforfraudulentconcealmentclaims.But,thecaseonwhichTakatarelies,JMB Mfg.,Inc.
v.ChildCrJ/,ffC,799F.3d780 (7thCir.2015),iseasilydistinguishable.In ChildCrJ/,the
plaintiffneverpursued a theory of intentionalw rongdoing--only negligence. Id.at787.

Nothing inChildC'
                rl' suggeststhatplaintiffsareforeclosedfrom recoveringeconomiclosses
forintentionalm isrepresentation claim s. H ere,ofcourse,Plaintiffs allege thattsTakata'sacts

weredone maliciously,oppressively,deliberately,with intentto defraud,and in reckless

disregard ofPlaintiffs'and the Class'srightsand well-being.'' Further,although lndianahasnot



                                              -   16-
specifcally recognized an exception forfraudulentconcealm ent,Child Crl.# listsseveralother

exceptionsto Indiana'seconomiclossnzle.Seeid.at788(citing U S.Bank,N A.v.Integrity
Land TitleCorp.,929N.E.2d742(lnd.2010)(economiclossruledidnotbarnegligent
misrepresentationclaim whereplaintiffwasnotinprivitywithdefendantl).Basedonthe
exceptionsthatalready exist,itisreasonable- ifnotlikely- thatthe Suprem eCourtoflndiana

would excludeclaimsforintentionalmisrepresentation from theeconom ic lossdoctrine,

especially w here the parties lack privity. Therefore,Takata'sm otion to dism issCount4 as to

Plaintiffsgoverned by lndiana 1aw isDENIED .

              b.      M ichigan
       Takata arguesthatM ichigan'seconom ic lossdoctrinebarsPlaintiffs'fraudulent

concealmentclaim s.A salready explained,M ichigan'seconomiclossdoctrineextendsto

consum ertransactions. But,M ichigan appliesan exception to theeconom iclossdoctrine for

fraudulentinducementclaim s:

              Fraud in the inducem entpresentsa specialsituation where parties
              to a contract appear to negotiate freely- which norm ally would
              constitute grounds for invoking the econom ic loss doctrine- but
              where in fact the ability of one party to negotiate fair term s is
              undermined by the other party's (precontractuall fraudulent
              behavior.

Huron TooldrEng'
               g Co.v.Precision ConsultingServs.,Inc.,532N.W .2d541,545(Mich.Ct.
App.2001).Here,Plaintiffs'fraudulentconcealmentclaimsredressmisrepresentationsthat
allegedly induced Plaintiffsto purchasevehicles,butdo notthem selvesconstitute contractor

warranty term s. Thisçsprecontractual''conductisnotcovered by contractualrem ediesand thus

application ofthe economiclossdoctrineto barPlaintiffs'claim sisinconsistentwith the

rationale ofthedoctrineitself- to encouragepartiesto negotiateeconomicrisksthrough

warranty provisions and price.See ftf at544-45. Plaintiffs'fraudulentconcealm entclaim s are
extraneousto any contractualdispute.lndeed,thereisno contractata11between Plaintiffsand

Takata. Thus,M ichigan'seconom iclossdoctrinedoesnotapply becausePlaintiffsallegethat

Takata'sfraudulentconcealmentinduced vehiclepm chases. Therefore,Takata'smotion to

dism issCount4 astoPlaintiffsgovem ed by M ichigan 1aw isDENIED.

                     M issouri

      TakataarguesthatM issouri'seconomiclossdoctrinebarsPlaintiffs'fraudulent

concealmentclaim s. The M issouriSuprem eCourthasyetto decidetheissue asto defective

products.SeeNestlePurinaPetcareCo.v.BlueBuffalo Co.,181F.Supp.3d618,638(E.D.
M o.2016).But,atleastonefederalcourthasheldthattheM issouriSupremeCourtwouldlikely
holdthatafraudulentsuppressionclaim isnotbarred bytheeconomiclossdoctrine.Seek
                                                                             ve/fv.
EquilonEnters.,Inc.,No.4:00CV1903T1A,2005U.S.Dist.LEXIS 17288,at#41(E.D.M o.
M ar.30,2005).
       Similarto M ichigan,M issouricourtsbartortclaim sthatseek to recovereconom ic losses

unlesstheclaim sare based on misrepresentationsthatareindependentofa contract.SeeWfz4

Distrib.v.WhirlpoolCorp.,137F.3d 1083,1086(8th Cir.1998).Twokeyfactorsinexamining
whetherafraud claim isindependentofacontractundertheeconomiclossdoctrineare:(1)
whetherthesubjectmatteroftheallegedmisrepresentationswasincorporatedintotheparties'
contract;and (2)whethertheplaintiffsufferedadditionaldamagesoutsidethecontractasaresult
oftheallegedfraud.CompassBank.v.EagerRd.Assocs.,LLC,922F.Supp.2d 818,827(E.D.
M o.2013).Here,PlaintiffsandTakatahaveno contractforthealleged fraudulentconcealment
to beincorporated into. Becausetheclaim sare independentofany contract,sim ilarto the

reasoning applied underM ichigan law ,M issouri's econom ic loss doctrine doesnotbar

Plaintiffs'fraudulentconcealm entclaims. Therefore,Takata'smotion to dismissCount4 asto

Plaintiffs governed by M issouri1aw is DEN IED .

                                            -
                                                18-
              d.     N orth Carolina

      TakataarguesthatNorth Carolina'seconom ic lossdoctrinebarsPlaintiffs'fraudulent

concealmentclaim s. Untilrecently,application ofNorth Carolina'seconom iclossdoctrineto

fraud claim swasunclear. M any North Carolinatrialcourtsand federalcourtsapplyingNorth

Carolina1aw haveinterpreted the doctrineto baravariety oftortclaim sthattspiggyback''breach

ofcontractclaims. SeeAkzo NobelCoatings,Inc.v.Rogers,No.11CV S 3013,2011NCBC

LEXIS42,at*50(N.C.Super.Ct.Nov.3,2011).Thesecourtsheldthattttomaintaintortclaims
forconductalso alleged to beabreach ofcontract,aplaintiffm ustidentify a duty owed by the

defendantseparate and distinctfrom any duty owed underacontract.''ForestzM arket,Inc.v.

Arcogent,Inc.,No.15CVS9547,2016NCBC LEXIS 3,at*8(N.C.Super.Ct.Oct.5,2016).
       ln thetim esincethepartiesbriefed thism otion to dismiss,theNorth CarolinaCourtof

Appealshasdefinitively ruled on the issue:

              Ports Authority and analogous cases applying the econom ic loss
              rule are lim ited in scope to claims fornegligence and have never
              applied the doctrine to claim s for fraud brought
              contemporaneously with claim sforbreach ofcontract. Therefore,
              we hold that...while claims for negligence are barred by the
              econom ic loss rule where a valid contract exists between the
              litigants,claim sforfraud arenotso barred and,indeed,the 1aw is,
              in fact,to the contrary: aplaintiffmay assertboth claim s.

Bradley Woodcraf,Inc.v.Bodden,795S.E.2d253,259(N.C.Ct.App.2016)(internal
quotationsandcitationsomitted).FollowingBodden,itisnow clearthatclaimsforfraudarenot
barredbyNorth Carolina'seconom iclossrule. Therefore,Takata'sm otion to dism issCount4

asto Plaintiffs govenw d by N orth Carolina 1aw is DEN IED .

              e.     W estV irginia
       TakataarguesthatW estVirginia'seconom iclossdoctrine barsPlaintiffs'fraudulent

concealm entclaim s,relying on a Supreme CourtofAppealsofW estVirginiadecision in which



                                             -
                                                 19-
thecourtrefused to extend stricttortliability to econom ic losscases.SeeBasham v.Gen.Shale,

377S.E.2d 830(W .Va.1989).ln response,PlaintiffsciteHoran v,TurnpikeFor4 Inc.,in
whichthesamecourtaffirmedajury'sawardofdnmagestoconsumerswhoallegedthatthe
defendantdealership had com m itted fraud by making false representationsand by failingto

discloseinfonnationregardinganautomobilepurchase.433S.E.2d 559(W .Va.1993).ln
Horan,them easureofdam agesawarded wasthedifferencein valueofthe vehicleas

represented and thevalue ofthevehiclein itsactualcondition atthetim eofthetransaction.f#.

at565.Although W estVirginiahaslong recognized thatptzre econom ic dnm agesarem ore

properlythesubjectofcontractclaims,theHorandecisionindicatesthataplaintiffmayrelyona
fraudtheory to recoverpurely econom ic losses.ThisCourthasfound no casein which the

Suprem eCourtofAppealsofW estVirginiahasheld to thecontrary,leading oneto conclude

thatW estVirginia'seconom ic lossdoctrinedoesnotbarfraud claim s. Therefore,Takata's

m otion to dism issCount4 asto Plaintiffsgoverned by W estVirginia law isDENIED.

D,     UnjustEnrichment(Count6)
       Plaintiffsbringoneclaim forunjustenrichmentonbehalfofthenationwideclassunder
thecommon1aw ofunjustenriclunentor,alternatively,underM ichiganlaw,oralternatively,
underthelaw softhestateswhere Plaintiffsresideorpurchased theirvehicles.Takatam ovesto

dismissPlaintiffs'unjustenrichmentclaim on groundsthat:(1)Takatadidnotdirectlybenefit
from Plaintiffs'purchasesofthevehicles;(2)Plaintiffs'expresswarranty contractswiththe
AutomotiveDefendantsprecludeaquasi-contractualclaim forunjustemichment;(3)Plaintiffs
haveanadequateremedy atlaw;and (4)unjustenrichmentisnotanindependentclaim in
California orTexas. Asexplained below,Takatadid notdirectly benefitfrom Plaintiffs'

purchasesofthe vehicles. Therefore,Takata's m otion to dism iss Count6 is G R ANT ED .



                                             -   20-
       1.      TakataDidNotDirectlyBeneftfrom Plaintv 'Purchases
       TakataarguesthattheunjustenrichmtntclaimsfailbecauseTakatadidnotdirectly
benefitfrom Plaintiffs'vehiclepurchases. Plaintiffspurchased thevehiclesfrom dealershipsor

otherautomotive salesestablishmentsorindividuals, butnotfrom Takata.13 Takata suggeststlaat

thisdoesnotcreateadirectrelationship sufficienttostateaclaim forunjustenrichment.
Plaintiffsrespond thatalthough they m ustlçdirectly confera benefiton defendants,they need not

havedirectcontactwith thedefendantsto do so''- aplaintiffsmoney could passto adefendant

through athird party,i.e.theAutom otiveDefendants.

       A plaintiffm ay confera directbenefittllrough indirectcontactwith adefendantthrough

an intermediary.See Williamsv.WellsFargoBankN A.,N o.11-21233,2011U.S.Dist.LEXIS

119136,at#15-16(S.D.Fla.Oct.14,2011)(ç$1twouldnotservetheprinciplesofjusticeand
equitytoprecludeanunjustenrichmentclaim merelybecausethedbenefit'passedthroughan
intermediarybeforebeingconferredonadefendant.'l;Romano v.Motorola,Inc.,No.07-60517,
2007U.S.Dist.LEXIS 86472,at*6(S.D.Fla.Nov.26,2007)Cr efendanterroneouslyequates
directcontactwithdirectbenehtinarguingthatbecauseplaintiffheredidnotptzrchaseeitherhis
phoneorhisbatteriesfrom Motorola,plaintiff conferrednodirectbenefitonM otorola.'')
(emphasisin original,internalquotationsomitted).Further,severalcourtshavedeniedmotions
todismissunjustemichmentclaimsagainstmanufacturersthatmarketedtheirproductsto
consum ersbutsold the productsthrough third-party retailers.See,eg.,Carriuolo v.Gen.

M otorsLLC,72F.Supp.3d 1323 (S.D.Fla.2014);Romano,2007U.S.Dist.LEXIS 86472.



        13TheCourt'spreviousordershaveaddressedtheissueofwhetherPlaintiffshaveconferredadirectbenefit
on theAutomotiveDefendants. ForeachPlaintiff,theissueturned on wherethatindividualpurchasedthevehicle
andhow farremovedtheAutomotiveDefendantwasfrom thesale.
       But,thesecasesare distinguishable becausethey involvem anufacturersoftinalproducts

sold to consum ers- notmanufacturersofcom ponentparts.Here,PlaintiffsallegethatSç-l-akata

benefittedthrough itsunjustconduct,bysellingDefectiveAirbagswith aconcealed safety-and-
reliability related defect,ataprofit,formorethan these DefectiveAirbagswereworth,to

Plaintiffs,whoovepaidfortheseDefediveAirbagsby overpayingfortheirClassVehides,(or)
would nothavepurchased theseDefectiveAirbagsand ClassVehiclesatal1.''Plaintiffsdo not

allegethatTakata sellsairbagsto consumers,butonly to autom akersand governm ental

purchasers. Thus,Takatarealized itsbenefitassoon asitsold itsairbagpartsto the Automotive

Defendants.Andthebenefk wasnotcontingenton any consum er'sdecision to purchasea

vehicle. Because Plaintiffsdo notallege thatthey have conferred adirectbenefiton Takata,the

unjustemichmentclaim failsasamatteroflaw.Therefore,Takata'smotiontodismissCount6
is G R AN TED .

E.     Implied W arranty(Counts5,48,54,57,62,66,69,71,73,76,78,80,81,86,90,92,
       95,98,100 & 103)
       Plaintiffsbring 20 im plied warranty claim s--onecounton behalfofthenationwide class

underM ichigan law,and 19 countsonbehalfofsubclassesunderthelawsofvariousstates,

including Califom ia,Colorado,Florida,Hawaii,Indiana,Louisiana,M assachusetts,M ichigan,

M innesota,M issouri,Nevada,New Jersey,North Carolina,Perm sylvania,lkhode lsland,South

Carolina,Texas,Virginia,and W estVirginia.Takatam ovesto dismissPlaintiffs'implied

warrantyclaimson groundsthat:(1)Plaintiffsfailtoallegemanifestationofadefectorthe
imminentlikelihood ofmanifestation;(2)contractualprivityisrequiredunderthelawsof
Florida,M ichigan,North Carolina,andTexas;(3)Plaintiffscannotallegeamanifestationof
defectwithinoneyearofpurchasetmderCalifornialaw;and(4)theclaimsaretime-barredunder




                                            -   22-
thelawsofIndiana,M ilm esota,M issouri,Nevada,N ew Jersey,North Carolina,Rhodelsland,

and W estV irginia.

       Asan initialmatter,PlaintiffsassertCount5underM ichigan law. But,asexplained

above,M ichigan 1aw appliesonly to two named plaintiffs- Boone and M onis.Therefore,

Takata'smotion to dismissCount5 isGR ANTED asto a11named plaintiffsexceptBoone and

M onis.Asexplained below,Plaintiffssufficiently allege 17 ofthe 19 othercounts.

              Plaintp Sum cientlyAllegeM anfestation ofaDefect
       Takata arguesthatthe implied warranty claim sshould bedism issed becausethey failto

allegeeitherm anifestation ofa defectortheim minentlikelihood ofm anifestation.Asexplained

intheM azdaOrder,theCourtrejectsthisargumentatthemotiontodismissstage,butnotesthat
Takatahasraisedthepossibility ofothercausesand factorscontributingto theairbaginflator

malfunctions,which mayappropriatelybeconsideredatsummaryjudgment.Therefore,
Takata'sm otion to dismisstheim plied warranty claim sforfailureto allegem anifestation ofa

defectisDENIED .

       TakataalsoarguesthatPlaintiffs'Californiawarranty claimstcount54)shouldbe
dism issed becausePlaintiffscannotallegem anifestation ofadefectwithin oneyearofpurchase.

Asexplained in theNissan Order,theissueofwhetherthealleged defectm anifested itselfwithin

the firstyearrequiresfurtherfactualdevelopm ent. Therefore,Takata'sm otion todism issCount

54 on thisground isDENIED.

              Lack ofprivityDoesNotBarPlaintW s'Implied Warranty C'
                                                                  llfzltçUnder
              M ichigan orTexasLaw (Counts5,73A 98)
       Takatainitially argued thatfivecountsshould be dism issed becausethepartieslack

contractualprivity,which Takatasuggestsbarsim plied warranty claim sin Florida,M ichigan,

N orth Carolina and Texas. In theirResponse,Plaintiffs state thatthey tthave elected notto
pursue implied warranty claim sunderFlorida and North Carolina''law .Therefore,Takata's
m otion to dism issCounts48 and 86isGRANTED .14

       Further,asexplained in the Court'spreviousorderdenying Takata'sm otion to dism iss

Count3,Plaintiffscitecase 1aw suggesting thatprivity isnotrequiredto sustain breach of

implied warranty claimsunderM ichigan and Texaslaw. Therefore,Takata'smotion to dismiss

Counts5,73 and 98 forlack ofprivity isDENIED.

       3.      PlaintW s'Implied Warranty ClaimsAreNotTime-Barred UndertheLawsof
               Indiana,M innesota,M issouri,N evada,N ew Jersey,N orth Carolina,R hode
               Island,orWestVirginia(Counts66,76,78,80,81,86,92,103)15

       Takata arguesthatthese eightstateshave no discovery rule to tollthe statuteof

limitationsforim plied warranty claim s. Thus,Takata suggeststhata1lclaim sbroughtby

Plaintiffsin each subclasswho purchased vehiclesoutsidtoftheappliçablelimitationsperiod in

these statesshould bedism issed.
       Asan initialm atter,in itsReply,Takataconcedesthatin M irmesota and Nevada,accrual

ofthestatuteoflim itationsbeginsatthe tim eofdiscovery. Therefore,Takata'sm otion to

dism issCounts76 and 80 astim e-barred isDENIED. Further,asexplained in the Toyota Order,

the Courttsndsthat,atthem otion to dism issstage,Plaintiffssufficiently allegefactsto tollthe

statuteoflimitationsunderNevada'sdiscovery rule.Also,asalready explained,Plaintiffsareno

longerpursuing Count86.



       '4Inapreviousorder, theCourtalreadyhasdenied Takata'smotionto dismissPlaintiffs'related
Magnuson-MossW arrantyActclaim (Count3).TakatasoughtdismissalofCount3solelyonthegroundsthatthe
underlying stateimplied warrantyclaimsshould bedismissed.However,because Counts48 and 86 arenow
dismissed,Count3 isalso dismissedasto Plaintiffsgovernedby FloridaandNorth Carolinalaw.

         15In itsReply,Takataalsopointsto theargum entsm adebytheAutom otiveD efendantsthatthestatutesof
limitation forimplied warranty claimsunderthelawsofCalifom ia,Florida,M assachusetts,andPennsylvaniabar
Counts5,48,54,71,and90.Totheextenttheseargumentsarenotaddressed inpreviousordersontheAutomotive
Defendants'motionstodismiss,Takataisfreetoarguethem atsummaryjudgment.
       Fortherem aining five countsunderthe lawsoflndiana,M issouri,N ew Jersey,Rhode

lsland and W estVirginia,although Plaintiffsdisputethatthese statesdo notrecognizethe

discovery rule,m oreimportantly,Plaintiffsarguethateven iftnze,each statetollsthelimitations

period when thereisfraudulentconcealment. ln response,Takata doesnotdisputethat

fraudulentconcealm enttollsthelim itationsperiods,butinstead arguesonly thatPlaintiffsdo not

sufficiently allege fraudulentconcealm ent.

       Asthe Courthasexplained in thisand otherorders,Plaintiffssufficiently allegefactsto

supportafraudulentconcealm entclaim- thatTakata knowingly and actively concealed the

defectfrom Plaintiffsformany years.Aslongasthefraudulentconcealm entclaim sremain,the

lim itationsperiod istolled in allstatesthatrecognize theexception,includingthefivestatesat

issue here. Therefore,Takata'sm otion to dism issCounts66,78,81,92 and 103 astim e-barred

isD ENIED .

F.     ConsumerProtection Statutes(Counts7,47,49,50,51,52,53,56,58,59,60,61,63,
       64,65,67,68,70,72,74,75,77,79,82,83,84,85,87,88,89,91,93,94,96,97,99,
       101,102,105& 106)
       Plaintiffsbring 40 claim sforviolationsofvariousstates'consumerprotection statutes-

onecounton behalfofthenationwideclassunderM ichigan law,and 39 countson behalfof

subclassesunderthelawsofvmiousstates,includingAlabam a,Arizona,California,Colorado,

Connecticut,Florida,Georgia,Hawaii,Illinois,lndiana,lowa,Louisiana,M assachusetts,

M ichigan,M innesota,M issouri,Nevada,New Jersey,New York,North Carolina,Ohio,Oregon,

Pennsylvania,RhodeIsland,South Carolina,Termessee,Texas,Virginia,W ashington,and W est

Virginia.Takatamovesto dismissPlaintiffs'consumerprotectionclaimson groundsthat:(1)
Takatadidnotengageinaconsumertransactionorconsumer-directedconduct;(2)Plaintiffsare
notentitledtorestitutionunderArkansasorCalifomialaw;and(3)theclaimsaretime-barred
underthelawsofColmecticut,Hawaii,Indiana,M irmesota,Ohio,Rhodelsland,and W est
Virginia.16

       Asan initialmatter,Count7 isbroughton behalfofthe nationwide class,butarisesonly

underM ichigan law.17 A salready explained, M ichigan law appliesto only two nnmed

plaintiffs- Booneand M orris.Because M ichigan 1aw doesnotgovern theclaimsbroughtby the

other110 nam ed plaintiffs,Takata'smotion to dism issCount7 asto a11namedplaintiffsexcept

forBoone and M onisisG RANTED. Further,asexplained in a previousorder,theAutom otive

RecyclerClassdoesnotallegesufficientfactsto have standingto assertclaim sunderthe

consum erprotection lawsofstatesotherthan Florida.Thiseffectively m akesCount105

identicalto Count106.Therefore,Takata'smotion to dismissCount105 isGRANTED.A s

explained below,Plaintiffssufûciently allege allremaining consum erprotection counts.

Therefore,Takata'smotion to dism issthesecountsisDENIED .

        1.      Plaintt sSufpcientlyAllegeConsumer-DirectedConduct
       Takataarguesthata1140 countsshould be dismissed because Takataand thePlaintiffs

havean 'sindirect''relationship,suggesting thatPlaintiffsdo notallegedeceptiveconduct

specifically directed atthem by Takata.Essentially,TakataarguesthatPlaintiffs'purchasesof

the vehiclesdo notconvertPlaintiffsintoççconsumers''ofTakataairbags.Because Plaintiffs

purchasedvehiclesfrom the Autom otive Defendantsorotherthird party sellers,Takata argues

thattheonly partieswho could havebeen directly affected by Takata'salleged m isconductare

theAutom otiveDefendants- thecounterpartiesto Takata'sairbag supply agreem ents. In



         16Takatainitially madeotherargum entsrelatedtoconsumerprotectionclaim sin itsm otion to dism iss,but
retreated from theseargumentsin itsReply.
         17PlaintiffsallegeadditionalviolationsofM ichiganlaw,butin thosecounts,Plaintiffsallegealternative
law ifM ichigan law doesnotapply. Count7isstrictly broughtunderM ichigan law withno alternative1aw alleged.



                                                    -   26-
supportofitsargument,Takatacitescasesfrom anumberofjurisdictionsthathavedismissed
Cfmsllm erProtcction Claim s.lB

       ln response,Plaintiffsdistinguish a11ofthesecasesasinapposite. ThisCourtagrees. The

casesTakatareliesoninvolveeither;(1)privatecontractualdisputes;(2)commercialdisputes
betweenbusinesses;(3)toomanyinterveningfactorsinthecausalchainbetweentheinjuriesand
theallegedlyunlawfulconduct;(4)plaintiffswhoaretooremotefrom thedeceptiveacts;or(5)
conductthatisnotconsum er-oriented. Here,Plaintiffsclearly allegethatthey were consumers

ofTakataairbagsandthatTakata'sdeceptiveconductwasdirected atPlaintiffs.Plaintiffsare

Tdconsumers''undertherelevantstatutes. Thzoughoutthe Complaint,PlaintiffsallegethatTakata

intendedto deceiveconsumersandthatTakatamisledandinjtlredconsumersasaresultofthat
deception. Theeconom ic harm allegedly suffered by Plaintiffsflowsdirectly from Takata's

alleged concealm entoftheairbag defect. Acceptingthese allegationsastrue,asthe Courtmust

atthisstage,Plaintiffssufficiently allege factsindicating thatTakata'sdeception wasaim ed at

consumers, despitethe lack ofdirectprivity.19 Therefore, Takata'sm otion to dismissthe

consumerprotection countsforlack ofconsum er-directed conductisDENIED .

               Plaintt sSum cientlyAllegeEntitlementtoRestitution UnderArkansasor
               CalforniaLaw (CountsJ7,52A 105)
        Takataarguesthatthesethreecountsshould be dismissed becausePlaintiffsdo notallege

any lossofPlaintiffs'm oney orproperty to Takata,which precludesany monetary rem edy

        18M aurizio v. Goldsmi
                             th,230F.3d518(2dCir.2000)9SheetMetalWorkersLocal441v.Glaxosmithkline,
PLC,737F.Supp.2d380(E,D.Pa.2010)(applyingM ichigan,New York,andArizonalaw);InreAuto.
RehnishingPaintAntitrustLitig.,515F.Supp.2d544(E.D.Pa.2007);InreWellbutrinXLAntitrustLitig.,515F.
Supp.2d544(E.D.Pa.2007);InreRezulinProds.Liab.Litig.,390F.Supp.2d319(S.D.N.Y.2005);RhinoLinings
USA,lnc.v.RockyMountainRhinoLining,Inc.,62P.3d 142(Co1o.2003);Ganim v.SmithttWessonCorp.,780
A.2d98(Conn,2001).
        19TheCourtnotesthattheanalysisofconsumer-directed conductasrequiredby consumerprotection
 statutesdiffersfrom theanalysisofadirectbenefitasrequiredforcommon1aw unjustenrichmentclaims.Ashere,
 acomponentmanufacturermay directconducttowardsconsumerssuffkientto sustain astatutoryconsumer
 protectionclaim,yetremainfarenoughremovedfrom themonetarybenefittoprecludeanunjustenrichmentclaim.
available undertherelevantstatutes. But,asPlaintiffspointout,they need notallegethatthey

exchanged money directly with Takatato have aviable claim forrestitution.See,e.g.,Falco v.

NissanN Am.,Inc.,96F.Supp.3d 1053,1061n.11(C.D.Cal.2015)(findingplaintiffsneednot
allegeçsdirecttransaction''to properly plead claim sunderCalifom ia'sUnfairCompetition Law

orConsumerLegalRemediesAct);Guidov.L'Oreal,USA,Inc.,No.11-1067,2013U.S.Dist.
LEXIS 94031(C.D.Cal.July 1,2013)(holdingplaintiffsassertedviableclass-wideclaimsunder
California'sUnfairCom petition Law and ConsumerLegalRem ediesActagainsthairproduct

manufacturereventhoughtheypurchasedproductsfrom çsretailoutletsnationwide'');Valor
Healthcare,Inc.v.Pinkerton,No.08-6015,2008U.S.Dist.LEXIS 105988,at*7(W .D.Ark.
Dec.23,2008)(applyingArkansasDeceptiveTradePracticesActbroadly totslaqnypersonwho
suffersactualdamageorinjuryasaresultofanoffenseorviolation.'').Accordingly,Takata's
argum entfails.Therefore,Takata'smotion to dismissCounts51,52 and 105 isDENIED.

       3.     PlaintW k'ConsumerProtection ClaimsAreNotTime-Barred UndertheLaws
              ofconnecticut,Hawaii,Indiana,M innesota,Ohio,RhodeIsland,orWest
               Virginia(Counts58,61,65,74,87,91 * 102)
       Takataarguesthatthese seven stateshave no discovery rule to tollthe statuteof

limitationsforconsum erprotection claim s.Thus,Takatasuggeststhata11claim sbroughtby

Plaintiffsin each subclasswho purchased vehiclesoutsideofthe applicable lim itationsperiod in

thesestatesshould be dismissed. Plaintiffsdispute thatthesestatesdo notrecognizethe

discovery rule,butm ore importantly,Plaintiffsarguethateven iftnze,each statetollsthe

limitationsperiod when there isfraudulentconcealm ent. ln response,Takata doesnotdispute

thatfraudulentconcealmenttollsthelimitationsperiods,butinstead arguesonly thatPlaintiffsdo

notsufficiently allege fraudulentconcealm ent.
       Asthe Courthasexplained in thisand otherorders,Plaintiffssuffkiently allegefactsto

supportafraudulentconcealmentclaim - thatTakataknowingly and actively concealedthe

                                             -   28-
defectfrom Plaintiffsform any years.Aslong asthe fraudulentconcealm entclaim sremain,the

lim itationsperiod istolled in allstatesthatrecognizetheexception,includingthe seven statesat

issuehere. Therefore,Takata'sm otionto dism issCounts58,61,65,74,87,91and 102 astim e-

barred isDENIED.

                                          CONCLUSION

       Based ontheforegoing,itishereby

       ORDERED AND ADJUDGED thatTakata'sM otion to DismissisGRANTED IN

PART and DENIED IN PART asfollows:

              @        Negligenceand NegligentFailure to Recall.Counts8 and 55 areboth
                       DISM ISSED.
              @        FraudulentConcealment.Count4 isDISM ISSED asto Plaintiffs
                       governed by FloridaorPermsylvanialaw ,butrem ainsasto a11other
                       Plaintiffs. Count104 isDISM ISSED.

              *        UnjustEnrichment.Count6isDISM ISSED.
              @        Implied Warranty. Counts48 and 86 areDISM ISSED,asarethe
                       derivativeCount3 claim sasto Plaintiffsgovernedby FloridaorN orth
                       Carolinalaw . Count5 isDISM ISSED asto a11PlaintiffsexceptBoone
                       and M orris. Count5asto Booneand M orrisand the other 17counts
                       rem ain.

               @       Consum er Protection Statutes. Count105 is D ISM ISSED . Count7 is
                       DISM ISSED asto a1lPlaintiffsexceptBoone and M orris. Count7 asto
                       Booneand M onisand theother38 consum erprotection countsrem ain.
                                                                                                    1
         DONE AND ORDERED in Chambers,atM iami,Floridyojhis                                         ofM ay2017.
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                                                        e''''  '
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                                            FED            .M       NO
                                            U N I.     STA TE S D IST RIC T JU D G E


Copies furnished to:

CounselofRecord



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